                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                 v.                            )       NO. 3:07-cr-00159
                                               )       JUDGE CRENSHAW
JAMES McWHORTER                                )


  DEFENDANT’S SUPPLEMENTAL RESPONSE TO MOTION TO RE-OPEN CASE

          James McWhorter, through undersigned counsel, files this supplemental response to the

government’s motion to re-open his case to turn over assets for restitution.

          Mr. McWhorter has stated that he does want undersigned counsel to represent him in this

matter.

          McWhorter does not object to the government’s request to re-open his case so that it can

sell the Rolex watches and apply the proceeds to his restitution debt. He confirms that he signed

the waiver that the government has submitted.

          Nonetheless, he does object to the government’s request to destroy the watches if they

turn out to be counterfeit Rolexes. He is certain that the watches seized from him by White

County were genuine Rolex watches. He maintains that, if the watches now provided by White

County are counterfeit, then White County must have mishandled his property. If the watches

provided are counterfeit, they should be preserved as evidence so McWhorter can pursue the

matter with White County. Notably, McWhorter is separately litigating a motion under 28 U.S.C.

§ 2255 that alleges that officials in White County engaged in misconduct against him. See James

McWhorter v. United States, Case No. 3:16-cv-01942 (M.D. Tenn.).



                                                   1




   Case 3:07-cr-00159 Document 707 Filed 03/08/17 Page 1 of 2 PageID #: 4711
       In any event, even if the watches provided by White County are counterfeit, they should

not be destroyed because it is not illegal to simply possess counterfeit items. See generally 18

U.S.C. § 2320 (making it illegal to traffic in counterfeit products); U.S. Attorney’s Manual,

Criminal Resource Manual § 1709 (“Thus it is not a crime under this act for an individual

knowingly to purchase goods bearing counterfeit marks, if the purchase is for the individual’s

personal use.”) McWhorter makes this point only to show there appears to be no law compelling

the destruction of the watches even if counterfeit. He emphasizes, however, that the watches

seized from him by White County were genuine Rolexes.

                                              Respectfully submitted,

                                              s/ Michael C. Holley            ____
                                              MICHAEL C. HOLLEY (BPR # 021885)
                                              Assistant Federal Public Defender
                                              810 Broadway, Suite 200
                                              Nashville, Tennessee 37203
                                              (615) 736-5047

                                              Attorney for James McWhorter

                                CERTIFICATE OF SERVICE

        I hereby certify that on March 8, 2017, I electronically filed the foregoing Defendant’s
Supplemental Response to Motion to Re-open Case with the U.S. District Court Clerk by using
the CM/ECF system, which will send a Notice of Electronic Filing to the following Debra
Phillips, Assistant United States Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN
37203.

                                               s/ Michael C. Holley
                                               MICHAEL C. HOLLEY




                                                 2




   Case 3:07-cr-00159 Document 707 Filed 03/08/17 Page 2 of 2 PageID #: 4712
